           Case 5:13-cr-50004-PKH                  Document 125   Filed 10/23/13   Page 1 of 1 PageID #: 639
    AO 245A (Rev. 12/03) Judgment of Acquittal                                          W U.S. DISTRICT COURT
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                                         UNITED STATES DISTRICT COURT
                                                                                                OCT 2 3 2013
                                                                                         BY CHRIS R. JOHNSON, CLERK
                                                   WESTERN DISTRICT OF ARKANSAS
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              UNITED STATES OF AMERICA
                                                                   JUDGMENT OF ACQUITTAL
                                  v.
                         DAVID FISHER
                                                                    CASE NUMBER: 5: 13-CR-50004-004




           The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
    and any bond exonerated.




                              Signature of Judge

            P.K. Holmes, III, Chief U.S. District Judge
                           Name and Title of Judge


                                       Date




J
